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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE SOUTHERN DISTRICT OF IOWA
                                   CENTRAL DIVISION

                                           *
TERRY HARRINGTON and                       *
CURTIS W. MCGHEE, JR.,                     *
                                           *          4:03-cv-90616 (LEAD CASE)
         Plaintiffs,                       *          4:05-cv-00178
                                           *          4:05-cv-00255
         v.                                *
                                           *
CITY OF COUNCIL BLUFFS, IOWA,              *
DANIEL C. LARSEN, in his individual and *
official capacities, and LYLE W. BROWN, *
in his individual and official capacities, *
                                           *
                                           *          ORDER
         Defendants.                       *
                                           *

       Before the Court is a Stipulation of Dismissal With Prejudice. This case, therefore, is

hereby dismissed with prejudice per the terms set forth in the stipulation.

       IT IS SO ORDERED.

       Dated this ___17th___ day of October, 2013.
